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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

                                             )
UNITED STATES OF AMERICA                     )
                                             )
                      Plaintiff,             )
                                             )
       v.                                    )              Case No.: 04-cv-1543 (RWR)
                                             )
SCIENCE APPLICATIONS                         )
INTERNATIONAL CORPORATION,                   )
                                             )
                      Defendant.             )
                                             )
                                             )

                                        [PROPOSED] ORDER

       The Court has considered the parties’ briefs regarding SAIC’s motion for additional

discovery and has found that there is good cause to permit the parties to conduct limited

discovery on the topic of damages.


       Accordingly, SAIC’s motion is GRANTED and the following are ordered:


       (1) Defendant SAIC shall be authorized to take one Rule 30(b)(6) deposition of the

Nuclear Regulatory Commission;


       (2) Defendant SAIC shall be authorized to conduct three half-day depositions of new fact

witnesses regarding damages; and


       (3) Defendant SAIC shall be authorized to obtain responses to the specific interrogatory

and document requests related to damages identified in its Memorandum.
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            The parties shall have 120 days to complete fact discovery, followed by 60 days to

complete expert discovery, upon entry of this Order.


       DATED:




                                                          ______________________________

                                                          United States District Judge




                                               2
